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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA

JOHN DOE #1–14 and JANE DOE #1–2,

                          Plaintiffs,

      v.

LLOYD AUSTIN, in his official capacity as
Secretary of Defense; XAVIER BECERRA,               Case No. 3:21-cv-01211-AW-HTC
in his official capacity as Secretary of Health
and Human Services; FRANK KENDALL,
in his official capacity as Secretary of the Air
Force; CARLOS DEL TORO, in his official
capacity as Secretary of the Navy; JANET
WOODCOCK, in her official capacity as
Acting Commissioner of the U.S. Food and
Drug Administration; and CHRISTINE
WORMUTH, in her official capacity as
Secretary of the Army,

                          Defendants.

  DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ EX PARTE MOTION
        FOR PLAINTIFFS TO PROCEED ANONYMOUSLY
      All sixteen Plaintiffs have moved to proceed anonymously in this case. Under

our system of justice, there is a presumption that judicial proceedings be open to the

public and for the identities of the parties to be public knowledge. A plaintiff may

overcome this presumption only by making an extraordinary showing justifying the

request to proceed anonymously. Plaintiffs disregard Eleventh Circuit’s criteria for

allowing a party to proceed anonymously and fail to make the extraordinary showing

required to meet this burden.
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                                 BACKGROUND

      Plaintiffs are fifteen anonymous service members in the U.S. Army, U.S.

Navy, U.S. Marine Corps, U.S. Air Force, Army Reserve, and Air Force Reserve

who do not wish to take a COVID-19 vaccine and one anonymous service member

in the U.S. Air Force who took the Johnson & Johnson COVID-19 vaccine. See

Compl. ¶¶ 14–30, ECF No. 6; Decl. of John Doe #4, ¶ 7 (Sept. 27, 2021), ECF No.

1-19. They filed this suit to challenge the Department of Defense’s (“DoD”)

COVID-19 vaccine mandate, as well as the Military Services’ guidance

implementing that mandate, and Food and Drug Administration’s (“FDA”) approval

of Pfizer’s Biologics License Application for its COVID-19 vaccine. Compl. ¶¶ 7–

11. They seek to, among other things, enjoin the Department of Defense and the

Military Services from implementing the COVID-19 vaccine mandate and vacate

the FDA’s approval of Pfizer’s COVID-19 vaccine. Id. ¶ 12.

      Plaintiffs seek to proceed pseudonymously in this action, citing alleged fears

of retaliation for filing this case. Pls.’ Mot. 2, ECF No. 4. Plaintiffs’ declarations,

however, do not support this claim, as no Plaintiff expresses any concern that they

will suffer any harms as a result of filing this lawsuit. See generally Pls.’ Decls.,

ECF No. 1-19.

                              LEGAL STANDARDS

      “Lawsuits are public events.” Doe v. Frank, 951 F.2d 320, 324 (11th Cir.

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1992); see also Cox Broad. Corp. v. Cohn, 420 U.S. 469, 492 (1975) (recognizing

the importance of openness in judicial proceedings); Craig v. Harney, 331 U.S. 367,

374 (1947) (“A trial is a public event. What transpires in the court room is public

property.”). “Federal Rule of Civil Procedure 10(a) thus requires “‘every pleading’

in federal court” to “‘name all the parties.’” Plaintiff B v. Francis, 631 F.3d 1310,

1315 (11th Cir. 2011) (quoting Fed. R. Civ. P. 10(a). This rule “‘protects the public’s

legitimate interest in knowing all of the facts involved, including the identities of the

parties.’” Id. (quoting Frank, 951 F.2d at 322). “Public access to this information

is more than a customary procedural formality; First Amendment guarantees are

implicated when a court decides to restrict public scrutiny of judicial proceedings.”

Doe v. Stegall, 653 F.2d 180, 185 (5th Cir. Unit A Aug. 1981) 1 (citing Richmond

Newspapers, Inc. v. Virginia, 448 U.S. 555, 100 S. Ct. 2814, 2829 & n.17 (1980)).

“This creates a strong presumption in favor of parties’ proceeding in their own

names.” Plaintiff B, 631 F.3d at 1315.

      Given this strong presumption of openness in judicial proceedings, courts

permit plaintiffs to proceed under fictitious names only in “exceptional case[s].”

Frank, 951 F.2d at 323. “The ultimate test for permitting a plaintiff to proceed

anonymously is whether the plaintiff has a substantial privacy right which outweighs


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 See Bonner v. City of Prichard, Ala., 661 F.2d 1206, 1209 (11th Cir. 1981) (holding
that decisions of the former Fifth Circuit handed down prior to the close of business
on September 30, 1981, are binding in the Eleventh Circuit).
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the ‘customary and constitutionally-embedded presumption of openness in judicial

proceedings.’” Id. (quoting Stegall, 653 F.2d at 186). In analyzing a plaintiff’s

request to proceed anonymously, courts “review all the circumstances of a given

case and then decide whether the customary practice of disclosing the plaintiff’s

identity should yield to the plaintiff’s privacy concerns.” Id. (citing Southern

Methodist Univ. Ass’n v. Wynne & Jaffe (SMU), 599 F.2d 707, 713 (5th Cir. 1979)).

“A plaintiff should be permitted to proceed anonymously only in those exceptional

cases involving matters of a highly sensitive and personal nature, real danger of

physical harm, or where the injury litigated against would be incurred as a result of

the disclosure of the plaintiff’s identity.” Id. at 324.

      In this Circuit,

      [t]he first step in analyzing a plaintiff’s claim of a substantial privacy
      right is to look at the three factors analyzed in SMU. See Stegall, 653
      F.2d at 185 (restating the test). First, are the plaintiffs seeking
      anonymity challenging governmental activity? Second, will they be
      required to disclose information of the utmost intimacy? Third, will the
      plaintiffs be compelled to admit their intention to engage in illegal
      conduct and thus risk criminal prosecution?

Plaintiff B, 631 F.3d at 1316. And, “in analyzing all the circumstances of a given

case,” “[c]ourts have looked at factors such as whether the plaintiffs were minors,

whether they were threatened with violence or physical harm by proceeding in their

own names, and whether their anonymity posed a unique threat of fundamental

unfairness to the defendant.” Id. (citing Stegall, 653 F.2d at 186; SMU, 599 F.2d at


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713).

                                   ARGUMENT

        Plaintiffs have not met their burden of demonstrating exceptional

circumstances that would justify their use of pseudonyms in this case. Plaintiffs do

not recognize or discuss the test for proceeding anonymously in their motion. See

generally Pls.’ Mot. Application of the Eleventh Circuit’s test shows that the

presumption of openness in judicial proceedings outweighs any privacy interest that

Plaintiffs have advanced.

           A. Plaintiffs’ Challenge to Government Activity Does Not Weigh in
              Favor of Granting Plaintiffs’ Request for Anonymity.

        First, although Plaintiffs challenge Government activity (i.e., the DoD

COVID-19 mandate, the Military Services’ implementation of that mandate, and the

FDA’s approval of the Pfizer COVID-19 vaccine), “in only a very few cases

challenging governmental activity can anonymity be justified.” Stegall, 653 F.2d at

186; see also Roe v. Aware Woman Ctr. for Choice, Inc., 253 F.3d 678, 686 (11th

Cir. 2001) (“[N]o published opinion that we are aware of has ever permitted a

plaintiff to proceed anonymously merely because the complaint challenged

government activity.”); Frank, 951 F.2d at 324 (SMU “does not stand . . . for the

proposition that there is more reason to grant a plaintiff’s request for anonymity if

the plaintiff is suing the government.”). Because Plaintiffs are “suing government

actors in their official capacities” and are “challenging the constitutional, statutory
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or regulatory validity of government activity,” this first factor has, at best only “a

neutral effect.” Nat’l Rifle Ass’n of Am., Inc. v. Bondi (NRA), No. 4:18CV137-

MW/CAS, 2018 WL 11014101, at *3 (N.D. Fla. May 13, 2018); see also Frank, 951

F.2d at 324 (“[T]he fact that Doe is suing the Postal Service does not weigh in favor

of granting Doe’s request for anonymity.”); Freedom From Religion Found., Inc. v.

Emanuel Cty. Sch. Sys., 109 F. Supp. 3d 1353, 1357 (S.D. Ga. 2015) (“It is not that

suing the government weighs in favor of granting a request for anonymity; rather,

the operative principle is that a suit against a private party weighs against a plaintiff’s

request for anonymity.”).

          B. Plaintiffs Will Not Be Required to Disclose Information of Utmost
             Intimacy.

       As to the second factor, the Eleventh Circuit has explained that “the

‘information of utmost intimacy’ standard applies to cases involving issues such as

abortion and prayer and personal religious beliefs.” Plaintiff B, 631 F.3d at 1316

(citing Roe, 253 F.3d at 685; Stegall, 653 F.2d at 186); see also id. at 1317 (finding

that “descriptions of the Plaintiffs in various stages of nudity and engaged in explicit

sexual conduct while they were minors who were coerced by the Defendants into

those activities” was “information of utmost intimacy”); SMU, 599 F.2d at 712–13

(collecting cases and listing “birth control, abortion, homosexuality, [and] the

welfare rights of illegitimate children or abandoned families” as examples of

“matters of a sensitive and highly personal nature” (footnotes omitted)). Under this
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strict standard, “courts have denied the use of pseudonyms in cases involving matters

that many would consider extremely private.” NRA, 2018 WL 11014101, at *3; see

also, e.g., Plaintiff B, 631 F.3d at 1316 (“[C]ourts have often denied the protection

of anonymity in cases where plaintiffs allege sexual assault, even when revealing

the plaintiff’s identity may cause her to suffer some personal embarrassment.”);

Frank, 951 F.2d at 324 (finding “no abuse of discretion in the district court’s implicit

conclusion that the stigma involved in Doe’s disclosure [of alcoholism] does not rise

to the level necessary to overcome the presumption of openness in judicial

proceedings”).

      No such circumstances appear to exits here. Indeed, Plaintiffs do not explain

what type of intimate information they would be required to disclose in this case.2

Plaintiffs merely cite to Doe v. Rumsfeld, 297 F. Supp. 2d 119 (D.D.C. 2003), and



2
  Plaintiff Jane Doe #1 states in her declaration that she has “a fertility disorder.”
Decl. of Jane Doe #1, ¶ 8 (Sept. 27, 2021), ECF No. 1-19. Although Plaintiffs have
not raised this medical condition as a reason to permit Jane Doe #1 to proceed
anonymously, see generally Pls.’ Mot., Defendants do not object to Plaintiff Jane
Doe #1 proceeding under a pseudonym at this time based on the information alleged
in her declaration about a “fertility disorder.” However, Plaintiffs should be required
to provide the identity of Plaintiff Jane Doe #1 (as well as all other Plaintiffs) to
Defendants under a protective order to permit Defendants to probe the veracity of
the allegations in her declaration. See Doe I v. City of Alabaster, Ala., No. 2:11-CV-
3448-VEH, 2012 WL 13088882, at *5 (N.D. Ala. Apr. 26, 2012) (rejecting
Plaintiffs’ request to keep their identities “secret” from Defendants because
“Defendants would be unfairly prejudiced in their ability to defend the lawsuit—
indeed, they would be entirely unable to even admit or deny the Plaintiffs’
allegations, without knowing the identities of the Plaintiffs”).
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argue that they are “similarly situated” to the plaintiffs in that case “who successfully

challenged a similar unlawful order mandating administration of an experimental

vaccine” and were permitted to proceed as John and Jane Does. Pls.’ Mot. 3. But,

as another court noted, “[t]he defendant in Doe v. Rumsfeld did not challenge the

plaintiffs’ anonymous designation.” Doe v. Von Eschenbach, No. CIV.A.06 2131

RMC, 2007 WL 1848013, at *1 n.1 (D.D.C. June 27, 2007). Nor did the Rumsfeld

Court explain the basis for allowing the plaintiffs to proceed anonymously. See

Order, Doe v. Rumsfeld, No. 1:03-cv-00707-EGS (D.D.C. Mar. 18, 2003), ECF No.

2. And the Von Eschenbach Court denied a motion to proceed anonymously by

service member plaintiffs who were challenging DoD’s decision to reinstate

mandatory inoculations. 2007 WL 1848013, at *1. In any event, the fact that

Plaintiffs are challenging a vaccine mandate is not “information of the utmost

intimacy” on par with birth control, abortion, sexual orientation, prayer, personal

religious beliefs, or welfare rights of illegitimate children or abandoned families.

See Plaintiff B, 631 F.3d at 1316; SMU, 599 F.2d at 712–13.

      Plaintiffs also cite to a case where the court allowed “plaintiffs to proceed

anonymously where their ‘personal religious beliefs [were] at stake.’” Pls.’ Mot. 3

(quoting Yacovelli v. Moeser, No. 1:02CV596, 2004 U.S. Dist. LEXIS 9152, at *26

(M.D.N.C. May 20, 2004)) (brackets in motion). Plaintiffs, however, do not explain

why proceeding anonymously is necessary to protect their personal religious beliefs.

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See id. Presumably, Plaintiffs are referring to the fact that eleven of the sixteen

Plaintiffs submitted or anticipate submitting religious exemption requests. 3 Setting

aside that this factor has no bearing on the other five Plaintiffs, it is not apparent why

litigation by the eleven Plaintiffs who submitted or plan to submit religious

exemption requests would warrant proceeding anonymously.

      Although this Circuit has recognized that “religion is perhaps the

quintessentially private matter,” Stegall, 653 F.2d at 186, the law does not support

granting pseudonym status merely because the case may touch on their religious

beliefs. See Freedom From Religion Found., 109 F. Supp. 3d 1353, 1357–58 (S.D.

Ga. 2015) (“While religion is certainly an individual matter of conscience that is

constitutionally shielded from government intervention, it is generally practiced

openly and communally, and no court from this or any other circuit has considered

a plaintiff’s religious beliefs to be a matter of such sensitivity as to automatically

entitle the plaintiff to Doe status.” (citing Santa Fe Indep. School Dist. v. Doe, 530

U.S. 290, 301–02 (2000); Stegall, 653 F.2d at 185–86)).

      Numerous plaintiffs routinely challenge Government policies as in conflict


3
  See Decl. of Jane Doe #2, ¶ 6 (Sept. 27, 2021); Decl. of John Doe # 1, ¶ 6 (Sept.
27, 2021); Decl. of John Doe #2, ¶ 8 (Sept. 27, 2021); Decl. of John Doe #3, ¶ 5
(Sept. 27, 2021); Decl. of John Doe #6, ¶ 7 (Sept. 27, 2021); Decl. of John Doe #8,
¶ 7 (Sept. 27, 2021); Decl. of John Doe #9, ¶¶ 8, 9 (Sept. 27, 2021); Decl. of John
Doe #10, ¶ 7 (Sept. 27, 2021); Decl. of John Doe #11, ¶ 6 (Sept. 27, 2021); Decl. of
John Doe #12, ¶ 6–12 (Sept. 27, 2021); Decl. of John Doe #14, ¶ 9 (Sept. 28, 2021),
ECF No. 1-19.
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with religious views or practices in public judicial proceedings, and it is not apparent

why adjudication of these particular claims would involve probing into intimate,

personal details about Plaintiffs’ particular religious beliefs. Plaintiffs have not

challenged the outcome of their religious exemption requests; at present they

challenge the DoD mandate, the Military Services’ implementation guidance, and

the FDA’s licensure of the Pfizer vaccine. See generally Compl. Moreover,

Plaintiffs allege substantive due process and equal protection violations and make

challenges under the Administrative Procedure Act to the DoD mandate and the

FDA’s licensure of the Pfizer vaccine, but do not, for example, bring an

Establishment Clause or a Religious Freedom Restoration Act claim. See generally

id.

       The circumstances of this case are far different from those where courts have

permitted a plaintiff to proceed anonymously to protect disclosure of private

religious beliefs and practices. For example, in Stegall, a mother and her two

children sought to proceed under “fictitious names with their suit challenging the

constitutionality of prayer and Bible reading exercises in Mississippi public

schools.” 653 F.2d at 181. The court found that the plaintiffs’ claims necessarily

involved “revelations about the[] [plaintiffs’] personal beliefs and practices,” putting

their religious beliefs “at the core of th[eir] suit to vindicate establishment clause

rights.” Id. at 186. The court noted that “[e]vidence on the record indicates that the

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Does may expect extensive harassment and perhaps even violent reprisals if their

identities are disclosed to a Rankin County community hostile to the viewpoint

reflected in plaintiffs’ complaint.”      Id.   And the court found “especially

persuasive . . . that plaintiffs are children,” who faced “special vulnerability” from

“threats of retaliation against the Does for filing [the] lawsuit.” Id. In considering

the totality of these circumstances, the Stegall court concluded that the plaintiffs’

privacy outweighed the “customary and constitutionally-embedded presumption of

openness in judicial proceedings.” Id.; see also Freedom From Religion Found.,

109 F. Supp. 3d at 1358 (stating that even “[i]n Establishment Clause cases, . . .

something more is required than just an intrusion into a plaintiff’s religious privacy

before a court will allow the plaintiff to proceed using a pseudonym” (citing Doe v.

Pittsylvania Cnty., 844 F. Supp. 2d 724, 729 (W.D. Va. 2012); Freedom From

Religion Found., Inc. v. Cherry Creek Sch. Dist., 2009 WL 2176624 (D. Colo. July

22, 2009); Doe v. Beaumont Indep. Sch. Dist., 172 F.R.D. 215 (E.D. Tex. 1997)).

None of the factors that the Stegall court considered persuasive are present here.

         C. Plaintiffs Will Not Be Compelled to Admit Illegal Conduct and
            Thus Risk Criminal Prosecution.

      As for the third factor, Plaintiffs will not be compelled “to admit their

intention to engage in illegal conduct and thus risk criminal prosecution.” See

Plaintiff B, 631 F.3d at 1316. Although Plaintiffs argue that they risk being

“dishonorably discharge[d] and imprison[ed],” Pls.’ Mot. 2, Plaintiffs will not suffer
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from these consequences because their identities are revealed in this lawsuit. The

Department of Defense and the Military Services already know the vaccination

status of each service member. Thus, if Plaintiffs suffer such consequences, it would

not be because they admitted their intention not to get a COVID-19 vaccine in this

lawsuit.

           D. All of the Other Circumstances in This Case Weigh Against
              Anonymity.

      None of the other circumstances in this case weigh in favor of anonymity. See

Plaintiff B, 631 F.3d at 1316.

      First, none of the Plaintiffs are minors. See id.

      Second, no Plaintiff was “threatened with violence or physical harm by

proceeding in their own names.” Id. Although Plaintiffs’ motion alleges that the

Plaintiffs “most certainly face retaliation, including harassment, punishment, and

threats to their careers, for filing this case and challenging the lawfulness of their

orders and the government’s approval of the vaccine,” Pls.’ Mot. 2, these

speculative, conclusory allegations—which are not even supported by Plaintiffs’

own declarations—do not constitute threats of “violence or physical harm,” Plaintiff

B, 631 F.3d at 1316. Courts have routinely held that such “vague, unsubstantiated

fears of retaliatory actions by higher-ups do not permit a plaintiff to proceed under

a pseudonym.” Von Eschenbach, 2007 WL 1848013, at *2 (quoting Qualls v.

Rumsfeld, 228 F.R.D. 8, 12 (D.D.C. 2005)).
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      Plaintiffs point to the declarations from each service member, which all state

that they have “credible concerns regarding retaliation, adverse employment actions

and disciplinary actions.” See, e.g., Decl. of Jane Doe #1, ¶ 3 (Sept. 27, 2021), ECF

No. 1-19. But these are not threats of “violence or physical harm.” Plaintiff B, 631

F.3d at 1316; see also Doe v. New Ritz, Inc., No. CIV. WDQ-14-2367, 2015 WL

4389699, at *2 (D. Md. July 14, 2015) (“[T]he threat of economic harm does not

merit anonymity.”). And none of the Plaintiffs state that they fear “retaliation,

adverse employment actions and disciplinary actions” as a result of filing this

lawsuit. See generally Pls.’ Decls., ECF No. 1-19. Rather, Plaintiffs’ declarations

make clear that they are concerned about “retaliation, adverse employment actions

and disciplinary actions” as a result of them not taking a COVID-19 vaccine. See,

e.g., Decl. of Jane Doe #1, ¶¶ 9, 10 (“I face administrative action, reprisal, and/or

dishonorable discharge for refusing to take the vaccine for violating an ‘order’ that

my command believes is lawful. In addition, I stand to lose all retirement, veterans

and other benefits.”). Again, however, the Department of Defense and the Military

Services already know the vaccination status of each service member, so proceeding

anonymously in this lawsuit will not obviate any alleged administrative actions.

Accordingly, Plaintiffs’ allegations are facially insufficient to show that they are at

risk of retaliation, much less violence or physical harm, if they proceed under their

true names in this case.

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      Finally, Plaintiffs’ anonymity presents an issue of fairness to Defendants.

Defendants anticipate raising threshold jurisdictional issues in support of a motion

to dismiss the case, and knowing the identities of Plaintiffs will support their

jurisdictional defenses. In a similar case, the court found that “the concern for

fairness to DoD as a defendant militates in favor of identification of Plaintiffs.” Von

Eschenbach, 2007 WL 1848013, at *3. Like Plaintiffs in this case, those plaintiffs

claimed that the Department of Defense violated 10 U.S.C. § 1107 by ordering

service members to take a vaccine. Id. The Court concluded that because “[i]t is

impossible for DoD to litigate standing without knowing who the Plaintiffs are,”

“[f]airness dictates that Plaintiffs’ identities be revealed.” Id.

      At the very least, the Defendants would have to know Plaintiffs’ identities

under the protective order. 4 But that approach will present unnecessary logistical

difficulties of sealed and redacted filings, and potentially closed hearings, which are

not otherwise warranted for the reasons set forth above.

                                   CONCLUSION

      For the foregoing reasons, Plaintiffs’ motion should be denied. If the Court

permits Plaintiffs to proceed under pseudonyms, the Court should require Plaintiffs

to reveal to Defendants under the protective order all of their identities at the earliest



4
 As of the date of this filing, Plaintiffs have provided the names of 8 of the 16
Plaintiffs to Defendants.
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possible opportunity in order to allow Defendants to respond to their claims.


Dated: October 20, 2021
                                          Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that this submission contains 3,387 words, not including the

case style, signature block, and certificate of service, according to Microsoft Word’s

word count function and thus is in compliance with Local Rule 7.1(F).

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                          CERTIFICATE OF SERVICE

      I hereby certify that on October 20, 2021, I electronically filed the foregoing

paper with the Clerk of Court using this Court’s CM/ECF system, which will notify

all counsel of record of such filing.



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